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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA
                                                     Case No. 17-CR-10329-DLC
            v.

 JAMIE L. MELO,

                 Defendant.


                  NOTICE OF APPEARANCE FOR THE GOVERNMENT

       To the Clerk of the Court and all parties of record, the undersigned counsel, Justin D.

O’Connell, Assistant United States Attorney, respectfully enters his appearance on behalf of the

United States Government.

                                             Respectfully submitted,

                                             ANDREW E. LELLING
                                             United States Attorney



Dated: June 18, 2018                 By:
                                             Justin D. O’Connell, BBO No. 683695
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
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                                      By:
                                              JUSTIN D. O’CONNELL
                                              Assistant United States Attorney
